
PER-CURIAM.
We continue to assert that chapter 95-184 does not violate the single-subject requirement of Article III, section 6 of the Florida Constitution. See Trapp v. State, 736 So.2d 736 (Fla.App. 1st DCA 1999); Heggs v. State, 718 So.2d 263 (Fla. 2d DCA), rev. granted, 720 So.2d 518 (Fla. 1998). Following Trapp and Heggs, we ask that the Florida Supreme Court add this case to those that are already under consideration by that Court for resolution of the constitutionality of ch. 95-184, Laws of Florida, pursuant to Article III, section 6 of the Florida Constitution.
Affirmed.
